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 Attorneys for Plaintiff




                                         UNITED STATES DISTRICT COURT

                                          FOR THE DISTRICT OF IDAHO

 REBECCA SCOFIELD,                                        Case No. 3:22-cv-00521-REP

                            Plaintiff,                    MOTION FOR DEFAULT
                                                          JUDGMENT
          v.

 ASHLEY GUILLARD,

                            Defendant.


         Pursuant to Federal Rule of Civil Procedure 55(b)(2), Plaintiff Rebecca Scofield moves the

Court to enter default judgment awarding her at least $1,863,304. This motion is supported by the

Memorandum in Support and the Affidavit of Rebecca Scofield.




MOTION FOR DEFAULT JUDGMENT - 1
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          DATED: February 17, 2023.

                                            STOEL RIVES LLP



                                            /s/ Wendy J. Olson
                                            Wendy J. Olson
                                            Elijah M. Watkins
                                            Cory M. Carone

                                            Attorneys for Plaintiff




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                               CERTIFICATE OF SERVICE

     I hereby certify that on February 17, 2023, I served a copy of the foregoing MOTION
FOR DEFAULT JUDGMENT via overnight mail as follows:

         Ashley Guillard
         4100 Southwest Parkway, Apt. 368
         Houston, TX 77207


                                            /s/ Wendy J. Olson
                                            Wendy J. Olson




MOTION FOR DEFAULT JUDGMENT - 3
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